Case 16-04072-rfn        Doc 10      Filed 08/08/16 Entered 08/08/16 11:17:59               Desc Main
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ATTORNEY FOR PLAINTIFF
DIANNE DORMAN

                                 UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF TEXAS
                                      FORT WORTH DIVISION

IN RE:                                              §
                                                    §
DIANNE DORMAN                                       §           CASE NO. 16-40061-RFN-13
                                                    §
       Debtor                                       §
_______________________________________             §
                                                    §
DIANNE DORMAN                                       §           ADV. NO. 16-04072-RFN
                                                    §
         Plaintiff                                  §
                                                    §
vs.                                                 §
                                                    §
OCWEN LOAN SERVICING, LLC,                          §
Mortgage Loan Servicer for                          §
DEUTSCHE BANK NATIONAL TRUST COMPANY                §
                                                    §
         Defendant                                  §

                              MOTION TO DISMISS ADVERSARY PROCEEDING

      Plaintiff moves this court to dismiss without prejudice the Plaintiff’s Adversary Proceeding, Adv.
No. 16-04072, for the reason that the Plaintiff no longer wishes to prosecute any causes of action
against the Defendant at this time. The parties have entered into an agreement in the Plaintiff’s
Bankruptcy Case, Case No. 16-40061, titled “Notice of Agreed Resolution of Objection to Confirmation”
[Doc 52] and entered with the Court which resolves immediate issues between the parties concerning
Defendant’s claim. There is no opposition to the relief sought in this Motion.

                                                        Respectfully submitted,


                                                        /s/ William Ritter
                                                        WILLIAM F. RITTER, IV
                                                        State Bar No. 16955500


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                                                        ATTORNEY FOR PLAINTIFF
                                                        DIANNE DORMAN

                                       CERTIFICATE OF CONFERENCE

       I certify that on August 8, 2016 I conferred with Andrew Spaniol with regard to the relief
requested in this motion and to which he is not opposed.


                                                        /s/ William Ritter
                                                        WILLIAM F. RITTER, IV

                                         CERTIFICATE OF SERVICE

        I certify that on August 8, 2016 a true copy of the above and foregoing Motion to Dismiss
Adversary Proceeding has been served via electronic notice and/or by U.S. first class mail on the
following:

        ANDREW SPANIOL                                  andrew.spaniol@bryancave.com
        BRYAN CAVE LLP
        2200 Ross Avenue, Suite 3300
        Dallas, TX 75201
        ATTORNEYS FOR DEFENDANT
        OCWEN LOAN SERVICING, LLC


                                                        /s/ William Ritter
                                                        WILLIAM F. RITTER, IV




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